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 5
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 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00286-DAD-BAM-2
12                                Plaintiff,            STIPULATION AND ORDER
                                                        REGARDING CONTINUANCE
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17                                             STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by

19 and through his counsel of record, hereby stipulate as follows:
20          1.     By previous order, this matter was set for sentencing on Monday, February 27, 2017,

21 at 10:00 a.m. (Doc. 149)

22          2.     By this stipulation, the parties now move to continue the matter to Monday, June 26,

23 2017, at 10:00 a.m.

24          3.     The parties further stipulate to the following schedule:

25          Informal Objections Due:                                     May 29, 2017

26          Final PSR Filed with the Court:                              June 5, 2017

27          Formal Objections to PSR/Sentencing Memo due:                June 12, 2017

28          Responses to Formal Objections/Reply to Sentencing Memo:           June 19, 2017
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 1 IT IS SO STIPULATED.

 2 DATED:       January 5, 2017   Respectfully submitted,
 3                                PHILLIP A. TALBERT
                                  United States Attorney
 4

 5                                /s/ Karen A. Escobar
                                  KAREN A. ESCOBAR
 6                                Assistant United States Attorney
 7 DATED:       January 5, 2017
 8                                /s/ Edward Robinson
                                  EDWARD ROBINSON
 9                                Counsel for Defendant
                                  Zaid Elodat
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11
                                         ORDER
12
     IT IS SO ORDERED.
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14     Dated:   January 6, 2017
                                             UNITED STATES DISTRICT JUDGE
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